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AO 106 (Rev. 04/10) Application for a Search Warrant !
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UNITED STATES DISTRICT Court
AUG 2°7 2018

 

for the
Toth] : irowe CLERK U.S. DISTRICT COUR
Western District of Washington ny STERN DISTRICT OF WASHINGINY arTACoMA
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In the Matter of the Search of )
(Briefly describe the property to be searched )

or identify the person by name and address) ) Case No. VY) J | & ~ 5 |

Six cellular phones, more particularly described in ) o 0

Attachment A

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A, attached hereto and incorporated by reference herein.

located in the Western District of Washington ___,, there is now concealed (identify the

person or describe the property to be seized):

See Attachment B, attached hereto and incorporated by reference herein.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
© evidence of a crime;
of contraband, fruits of crime, or other items illegally possessed;
property designed for use, intended for use, or used in committing a crime;
C1 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
21 USC 841(a), 846 conspiracy to distribute controlled substances, distribution, and possession with

intent to distribute controlled substances

The application is based on these facts:

See Affidavit of DEA Special Agent Steven Meyer, attached hereto and incorporated by reference herein.

Continued on the attached sheet.

of Delayed notice of 90 days (give exact ending date if more than 30 days: 11/25/2018 _ ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

Applicant's signature

 

Steven Meyer, Speical Agent

Printed name and title

Sworn to before me and signed in my presence.

Date: © (27/ 701% wlo iLuvtg

Judge’s signature

City and state: Tacoma, Washington _ David W. Christel, United States Magistrate Judge

Printed name and title

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AFFIDAVIT

STATE OF WASHINGTON )
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COUNTY OF PIERCE

I, Steven Meyer, Special Agent, Drug Enforcement Administration, United States

Department of Justice, being first duly sworn on oath, depose and state:
AFFIANT BACKGROUND AND EXPERIENCE

1. I am an “investigative or law enforcement officer of the United States”
within the meaning of Title 18, United States Code, Section 2510(7), that is, an officer of
the United States who is empowered by law to conduct investigations of, and to make
arrests for, offenses enumerated in Title 18, United States Code, Section 2516.

2. I am a Special Agent with the Drug Enforcement Administration (DEA),
and have been since March 2017. I am currently assigned to the Seattle Field Division,
Tacoma Resident Office. Prior to my employment with the DEA, I worked as a
Uniformed Officer with the Secret Service in Washington D.C., from June 2006 to April
2009. I received formal training at the DEA Basic Agent Training in Quantico, Virginia.
The four-month Basic Academy included comprehensive, formalized instruction in,
among other things: basic narcotic investigations, drug identification and detection,
familiarization with United States narcotics laws, financial investigations and money
laundering, identification and seizure of drug-related assets, organized crime
investigations, physical and electronic surveillance, and undercover operations.

3. During the course of my law enforcement career, I have been involved in
investigations of numerous criminal offenses, including the offenses involved in this
current investigation. I have participated in criminal investigations of illicit drug
trafficking organizations, ranging from street-level dealers to major dealers, to include

Mexico-based drug trafficking organizations. These investigations have also included the

AFFIDAVIT OF STEVE MEYER UNITED STATES ATTORNEY
USAO 2018R00760 1201 PACIFIC AVENUE, SUITE 700
TACOMA, WASHINGTON 98402

(253) 428-3800
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unlawful importation, possession with intent to distribute, and distribution of controlled
substances; the related laundering of monetary instruments; the conducting of monetary
transactions involving the proceeds of specified unlawful activities; and conspiracies
associated with criminal narcotics offenses. These investigations have included use of
the following investigative techniques: confidential informants; undercover agents;
analysis of pen register, trap and trace, and toll records; physical and electronic
surveillance; wiretaps; and the execution of search warrants. I have had the opportunity
to monitor, listen to, review transcripts and line sheets (prepared by linguists)
documenting the content of intercepted conversations involving the trafficking of
cocaine, heroin, methamphetamine, and other narcotics, by persons who used some form
of code to thwart law enforcement. I have also interviewed defendants at the time of
their arrests and have debriefed, spoken with, or interviewed numerous drug dealers or
confidential sources (informants) at proffer interviews who were experienced in speaking
in coded conversations over the telephone. I have gained knowledge regarding the
various methods, techniques, codes, and/or jargon used by drug traffickers in the course
of their criminal activities, including their use of cellular telephones and other electronic
devices to facilitate communications while avoiding law enforcement scrutiny.

4, I have participated in the investigation described herein since April 2018. I
have obtained the facts set forth in this Affidavit through personal participation in the
investigation described below, from the review of consensually recorded calls to date,
from oral and written reports of other law enforcement officers, from records, documents
and other evidence obtained during this investigation, and from confidential sources who
are associated with, and have knowledge about the subjects of this investigation and their
confederates. I have obtained and read official reports prepared by various law
enforcement officers in other related investigations by other agencies. Since I am
submitting this Affidavit for the limited purpose of obtaining authorization to search the

cellular phones described herein, I have not included every fact known concerning this

AFFIDAVIT OF STEVE MEYER UNITED STATES ATTORNEY
USAO 2018R00760 1201 PActFiIc AVENUE, SUITE 700

TACOMA, WASHINGTON 98402
(253) 428-3800
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investigation. I have set forth only the facts that I believe are essential to establish the
necessary foundation for the issuance of such warrants.
PURPOSE OF AFFIDAVIT
5. This Affidavit is submitted in support of an application to search the
cellular phones described below and in Attachment A, for evidence, fruits and
instrumentalities of violations of Title 21, United States Code, Sections 841 and 846
(drug distribution, possession with intent to distribute, and conspiracy), as described in
this Affidavit and in Attachment B. Since the seizure of these devices on August 17, 18,
and 22, 2018, they have remained in the secure custody of law enforcement:
a) A black Apple iPhone 10, seized from Jackson SUTER at 200 Moe Street
NE, Poulsbo, Washington, on August 17, 2018 (referred to herein as
SUBJECT DEVICE 1);
b) A white and gray Samsung Galaxy 88, seized from Apartment 36 in the
Hillsider 50 Apartment Complex at 19630 Ash Crest Loop NE, Poulsbo,
Washington, on August 18, 2018 (referred to herein as SUBJECT
DEVICE 2);
c) A black Verizon Cosmos 2, seized from Apartment 36 in the Hillsider 50
Apartment Complex at 19630 Ash Crest Loop NE, Poulsbo, Washington,
on August 22, 2018 (referred to herein as SUBJECT DEVICE 3),
d) A black iPhone 8 Plus, seized from Apartment 36 in the Hillsider 50
Apartment Complex at 19630 Ash Crest Loop NE, Poulsbo, Washington,
on August 22, 2018 (referred to herein as SUBJECT DEVICE 4);
e) A white and gray iPhone 6 Plus, seized from Apartment 36 in the
Hillsider 50 Apartment Complex at 19630 Ash Crest Loop NE, Poulsbo,
Washington, on August 18, 2018 (referred to herein as SUBJECT
DEVICE 5); and

AFFIDAVIT OF STEVE MEYER UNITED STATES ATTORNEY
USAO 2018R00760 1201 PACIFIC AVENUE, SUITE 700

TACOMA, WASHINGTON 98402
(253) 428-3800
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f) A black and gray iPhone 6 Plus, seized from Apartment 36 in the
Hillsider 50 Apartment Complex at 19630 Ash Crest Loop NE, Poulsbo,
Washington, on August 18, 2018 (referred to herein as SUBJECT
DEVICE 6).

6. The information set forth in this Affidavit consists of information I have
gathered and observed firsthand through the course of this investigation to date, as well
as information relayed to me by other law enforcement personnel, including officers from
the Poulsbo Police Department. I have set forth only the facts that I believe are essential
to establish the necessary foundation for the issuance of the search warrants for the
above-referenced Subject Devices.

CONFIDENTIAL SOURCES

7. Confidential Source 1 (CS1) is cooperating with the DEA and the West
Sound Narcotics Enforcement Team (WestNET) to investigate Jackson SUTER’s cocaine
distribution organization, as explained in more detail below. CS1 has no felony
convictions, and has one gross misdemeanor conviction for Assault in 2014. CS1 is
working with the DEA and WestNET in exchange for financial consideration. CS1 has
assisted members of WestNET in previous investigations and WestNET found his/her
information to be consistently truthful and reliable during those investigations.

SUMMARY OF PROBABLE CAUSE

8. Over the course of approximately the past five months, DEA agents and
WestNET detectives have been investigating Jackson SUTER’s cocaine distribution
organization. SUTER and his associates are known to distribute cocaine at bars and
nightclubs in/around Poulsbo and Bremerton, Washington. Based on information
gathered through my and other law enforcement officers’ interviews, we believe that
SUTER can acquire kilogram-quantities of cocaine, and keeps large amounts of cash on
hand. CS1 informed investigators that SUTER uses multiple distributors in the operation,

to include Michael LENTZ and Alex BULLARD.

AFFIDAVIT OF STEVE MEYER UNITED STATES ATTORNEY
USAO 2018R00760 1201 PACIFIC AVENUE, SUITE 700
TACOMA, WASHINGTON 98402

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Controlled Purchase #1

9. On April 16, 2018, agents arranged a controlled purchase of cocaine from
SUTER, utilizing CS1. While in the presence of agents, CS1 spoke to SUTER to confirm
the time and location of the deal. During the conversation, SUTER informed CS1 that
Michael LENTZ would complete the deal, and it would take place at the Central Market
at 20148 10th Avenue NE, Poulsbo, Washington. CS1 met with LENTZ at the Central
Market and successfully purchased the cocaine. Investigators searched CS1 and his/her
vehicle before and after the purchase, and found no contraband items. Special Agent
Jeremy Tan field-tested the drugs, as witnessed by me, and they tested positive for
cocaine.

10. Surveillance units confirmed that, prior to the deal, LENTZ traveled from
his residence at 21117 Norby Drive, Poulsbo, Washington, to SUTER’s house at 21482
Big Valley Road, Poulsbo, Washington, then to the Central Market. Following the deal,
LENTZ drove directly back to SUTER’s residence.
Controlled Purchase #2

11. On May 3, 2018, agents arranged a controlled purchase of 2 ounces of
cocaine from SUTER for $2,800, again utilizing CS1. While in the presence of agents,
CS1 confirmed with SUTER the time and location of the deal, which again would be the
Central Market. CS1 met with SUTER at the Central Market, and successfully purchased
the cocaine. Special Agent Tan field-tested the drugs, as witnessed by me, and they tested
positive for cocaine. Investigators searched CS1 and his/her vehicle before and after the
purchase, and found no contraband items. During the post-buy debrief of CS1, he/she
informed agents that SUTER was no longer living at 21482 Big Valley Road, Poulsbo,
Washington, and was now at the Hillsider 50 Apartment Complex, sharing Apartment 36
with Ben MCMULLEN.

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AFFIDAVIT OF STEVE MEYER UNITED STATES ATTORNEY
USAO 2018R00760 1201 PACIFIC AVENUE, SUITE 700

TACOMA, WASHINGTON 98402
(253) 428-3800
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Identification of SUTER’s Supplier

12. OnJune 14, 2018, agents attempted to conduct another controlled purchase
from SUTER, for 2 ounces of cocaine, utilizing CS1. However, prior to the deal, SUTER
contacted CS1 and asked if he/she could drive him (SUTER) to Tacoma in order to
resupply. Agents directed CS1 to accept SUTER’s offer and drive him to meet the
supplier. At approximately 8:25 p.m., SUTER confirmed he was ready to go, and told
CS1 to come and pick him up. Prior to CS1’s departure, agents searched CS1 and his/her
vehicle for contraband, with nothing found.

13. At approximately 8:30 p.m., surveillance units observed SUTER leave his
apartment, with a zipped up backpack, and enter CS1’s vehicle. Surveillance units
followed CS1, with SUTER, from the apartment to the Emerald Queen Casino at 2024
East 29th Street, Tacoma, Washington, and then to the Walmart at 20307 Mountain
Highway East, Spanaway, Washington. SUTER informed CS1 that the supplier had
changed the location to Walmart to save time. SUTER described the supplier as being
older, likely parked in a handicapped space at the Walmart.

14. At approximately 10:20 p.m., agents observed SUTER exit CS1’s vehicle,
with the zipped up backpack, and walk towards the Walmart. DEA Task Force Officer
(TFO) Eric Jansen observed SUTER approach a large Polynesian-looking individual and
begin to speak with him. Resident Agent in Charge (RAC) Ian McKenzie, on foot at the
Walmart, described the individual as having a full beard, two tattoos on his neck, and
using an electric wheel chair. SUTER and the unidentified Polynesian male moved to a
gray Dodge Charger (TV1), bearing Washington license AXM0809, parked in a
handicapped parking spot. The Washington Department of Licensing (DOL) indicates
the registered owner of the vehicle is Jonathan MOANALE at 20112 14th Avenue Court
East, Spanaway, Washington. RAC McKenzie confirmed the DOL photo of MOANALE
matched the individual who met with SUTER. RAC McKenzie observed SUTER walk
back to CS1’s vehicle with the backpack unzipped.

AFFIDAVIT OF STEVE MEYER UNITED STATES ATTORNEY
USAO 2018R00760 1201 PACIFIC AVENUE, SUITE 700

TACOMA, WASHINGTON 98402
(253) 428-3800
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15. |SUTER informed CS1 that he had made the money drop, but that the
supplier (MOANALE) did not have the cocaine. However, he (MOANALE) had
promised to deliver it to SUTER the next day, June 15, 2018. CS1 and SUTER agreed to
complete their deal for the 2 ounces of cocaine after SUTER had been resupplied.

16. At approximately 10:45 p.m., TFO Jansen observed TV1 parked at 20112
14th Avenue Court East, Spanaway, Washington.

17. OnJune 15, 2018, at around 8:30 p.m., CS1 contacted agents to say
SUTER was ready to do the deal. He/she believed SUTER had met the supplier
(MOANALE) sometime in the late afternoon or early evening.

Controlled Purchase #3

18. On June 19, 2018, agents directed CS1 to contact SUTER and make the
controlled purchase originally planned for June 14, 2018. While in the presence of
agents, CS1 confirmed the deal would take place at the Hillsider 50 Apartment Complex,
Apartment 36, at approximately 8:00 p.m. Agents provided CS1 with $2,800 in buy
money to purchase the drugs. CS1 met with SUTER at the apartment, and successfully
purchased one ounce of cocaine for $1,300. Special Agent Tan field-tested the drugs, as
witnessed by me, and they tested positive for cocaine. Investigators searched CS1 and
his/her vehicle before and after the purchase, and found no contraband items. During the
debriefing of CS1 after the controlled purchase, he/she informed agents that SUTER was
not happy with the quality of the cocaine, and only wanted to sell one ounce.

SUTER Resupply #1

19.  OnJune 26, 2018, SUTER asked CS1 to drive him to resupply in Tacoma,
Washington. CS1 told agents SUTER was expecting to pick up 9 ounces of cocaine.
Additionally, SUTER said he would introduce CS1 to his supplier, and they could discuss
the possibility of acquiring fentanyl (China White). Agents directed CS1 to call SUTER
and confirm he/she would be available to go. At approximately 6:05 p.m., SUTER
informed CS1 he was ready, and told him/her to come and pick him (SUTER) up. Prior

AFFIDAVIT OF STEVE MEYER UNITED STATES ATTORNEY
USAO 2018R00760 1201 PACIFIC AVENUE, SUITE 700

TACOMA, WASHINGTON 98402
(253) 428-3800
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to CS1’s departure, agents searched CS1 and his/her vehicle for contraband, with nothing
found.

20. At approximately 6:15 p.m., surveillance units observed SUTER leave his
apartment, with a white backpack, and enter CS1’s vehicle. They followed CS1, with
SUTER, from the apartment to the Emerald Queen Casino at 2024 East 29th Street,
Tacoma, Washington, and then to a residence at 4668 Court Q, Tacoma, Washington.
Agents observed SUTER and CS1 meet MOANALE on the porch, and sit down.
According to CS1, SUTER started the conversation by telling MOANALE that he
(SUTER) only had $9,500 of the $10,000, and would have to pay him the rest in a few
days. CS1 has stated that SUTER always brings at least $10,000 with him when
resupplying, depending on the amount he (SUTER) is buying. SUTER also introduced
CS1. MOANALE and CS1 discussed the possibility of buying fentanyl (“China White”),
agreeing on a price of $2,500 per ounce. MOANALE explained that he did not have the
fentanyl on hand, and would have to get it. CS1 asked if it would be possible within the
week, and MOANALE confirmed it would, but said CS1 would have to go through
SUTER. The meeting concluded, and MOANALE informed SUTER he would have to
come back later to pick up the cocaine.

21. At approximately 10:00 p.m., agents observed CS1’s vehicle return to 4668
Court Q, Tacoma, Washington. CS1 and SUTER exited the vehicle, walked to the porch
area, and made small talk with MOANALE. Shortly thereafter, a silver 2007 Chrysler
Aspen, bearing Washington license BJE9723 (TV2), arrived at the residence with two
unidentified male occupants. Washington DOL records indicate the registered owner of
the vehicle is Yonn Chang at 752 South 88th Street, Tacoma, Washington. Agents
conducted a search of any additional individuals connected to the 752 South 88th Street
address in the Washington DOL database, and identified three names: Leon Som KHA,
Vuthy UNG, and Ma Bun YOU. After later showing DOL photos of KHA, UNG, and

AFFIDAVIT OF STEVE MEYER UNITED STATES ATTORNEY
USAO 2018R00760 1201 Paciric AVENUE, SUITE 700

TACOMA, WASHINGTON 98402
(253) 428-3800
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YOU to CS1, he/she confirmed that KHA and UNG were the two males that arrived in
TV2.

22. At approximately 10:10 p.m., agents observed KHA, UNG, SUTER, and
CS1 leave, while MOANALE stayed at the residence. KHA, UNG, and SUTER got into
TV2, while CS1 drove his/her vehicle. Surveillance teams followed both vehicles north
to the Doubletree Hilton Hotel Seattle Airport at 18740 International Boulevard, Seattle,
Washington. TV2 stopped next to a new Durango-style vehicle with two unidentified
occupants inside. The passenger, an unidentified black male, exited and moved to TV2’s
passenger window. Moments later, the unidentified black male walked back to his
vehicle and got in. All three vehicles exited the hotel, but split up a short time later. TV2
and CS1’s vehicle went west on 188th Street, while the Durango-style vehicle went east.

23. At approximately 11:40 p.m., agents observed TV2 and CS1’s vehicle pull
into the Westwood Village at 2600 Southwest Barton Street, Seattle, Washington. The
vehicles moved alongside a blue 2014 Nissan Altima, bearing Washington license
AXE5187, and parked. Surveillance units observed an unidentified Hispanic male in the
passenger seat of the Altima exit the vehicle, walk to the backseat of TV2, walk back to
the Altima, then back to TV2’s backseat, before returning to the Altima. Shortly
thereafter, the Altima, TV2, and CS1’s vehicle departed the location. Later that evening,
CS1 told agents that SUTER had successfully acquired 9 ounces of cocaine. Agents
believe SUTER acquired the drugs from the unidentified Hispanic male in the Altima.
Surveillance of SUTER Resupply #2

24. OnJuly 10, 2018, surveillance units observed SUTER resupply in Seattle,
Washington with his supplier (MOANALE). At approximately 5:45 p.m., WestNET
detective Cory Manchester observed SUTER leave his apartment, enter a 2004 BMW,
bearing Arizona license BVV2990, and depart the area. Surveillance units followed
SUTER to 4668 Court Q, Tacoma, Washington, where he parked in front of the

residence.
AFFIDAVIT OF STEVE MEYER UNITED STATES ATTORNEY
USAO 2018R00760 {201 PACIFIC AVENUE, SUITE 700

TACOMA, WASHINGTON 98402
(253) 428-3800
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25. At approximately 6:50 p.m., WestNET detective Jason Bowman observed
TV2 arrive at 4668 Court Q. MOANALE, with an unidentified Polynesian female, exited
the vehicle and walked into the residence. Shortly thereafter, SUTER exited the BMW,
with a white backpack, and walked into the residence. Both SUTER and MOANALE
came outside and sat on the porch after a few minutes.

26. At approximately 7:30 p.m., Detective Bowman observed a 2002 bronze
Cadillac arrive at 4668 Court Q. MOANALE walked to the vehicle and got in.
Simultaneously, SUTER moved to the BMW and got in. Surveillance units observed
both vehicles leave the residence and drive to the Mount Baker Rowing and Sailing
Center at 3800 Lake Washington Boulevard, Seattle, Washington.

27. At approximately 8:40 p.m., I observed MOANALE, Leon KHA, and Ma
Bun YOU exit the Cadillac, walk to a 2018 Mercedes, and interact with an unidentified
black male. Shortly thereafter, MOANALE walked to SUTER’s vehicle and got into the
front passenger seat. They sat inside SUTER’s vehicle for approximately five minutes,
and then got out. Agents believe MOANALE supplied SUTER with cocaine during that
meeting. At approximately 9:00 p.m., SUTER got back into the BMW and departed the
area. MOANALE, KHA, and YOU left approximately ten minutes later.

Overdoses at SUTER’s Apartment

28. On August 17, 2018, at approximately 11:39 a.m., first responders received
an emergency 9-1-1call from SUTER, who stated that an unidentified female was
unresponsive in his apartment. Paramedics responded to the scene and discovered the
female dead, with three others in the apartment unconscious. Paramedics administered
Naloxone to the surviving victims, and transported them to the hospital.

29, At approximately 12:20 p.m., Poulsbo Police Department detectives arrived
at the Hillsider 50 complex, Apartment 36, and spoke with SUTER, who was not advised
of his Miranda rights at the time. SUTER admitted to removing items from the
apartment prior to calling authorities, which he put in a backpack in his BMW’s trunk.

AFFIDAVIT OF STEVE MEYER UNITED STATES ATTORNEY
USAO 2018R00760 1201 PACIFIC AVENUE, SUITE 700

TACOMA, WASHINGTON 98402
(253) 428-3800
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Detectives read a consent to search card to SUTER for the BMW, and he agreed
detectives could search the trunk. The subsequent search resulted in the seizure of a
white backpack containing, among other items, a square-shaped dinner plate. The dinner
plate later tested positive for methamphetamine, cocaine, and fentanyl. Detectives took
SUTER to the Poulsbo police station for additional questioning. Prior to this interview,
Poulsbo detective Lee Wheeler read SUTER his Miranda rights; SUTER acknowledged
the advisement and continued talking. Additionally, detectives seized SUBJECT
DEVICE 1 from SUTER’s person and entered it into evidence.

30. The next day, August 18, 2018, at approximately 1:00 a.m., Poulsbo and
WestNET detectives, with the assistance of Washington’s National Guard Civil Support
Team (CST), executed state search warrants on SUTER’s apartment and vehicle.
Detectives seized SUBJECT DEVICES 2, 5, and 6 from the apartment and entered them
into evidence. Additionally, CST technicians performed testing on the handle of a
security safe in SUTER’s room; the test results came back positive for fentanyl. The
search of SUTER’s vehicle resulted in the seizure of suspected cocaine and a small
portable scale.

31. On August 22, 2018, at approximately 1:30 p.m., Poulsbo detectives
executed an additional search warrant at SUTER’s apartment. They seized SUBJECT
DEVICES 3 and 4 at that time and entered them into evidence.

COMMON CHARACTERISTICS OF DRUG TRAFFICKERS

32. Based upon my training, experience, and participation in this and other
investigations involving drug trafficking, my conversations with other experienced
investigators, and interviews of individuals who have been involved in the trafficking of

methamphetamine, heroin, oxycodone, and other drugs, I have learned and know the

following.
AFFIDAVIT OF STEVE MEYER UNITED STATES aT TENEY
ACIFIC AVENUE, SUITE
USAO 2018R00760 TACOMA, WASHINGTON 98402

(253) 428-3800
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33. Drug traffickers use mobile electronic devices, including cellular
telephones, to conduct their illegal trafficking business. As described below, such
equipment often contains evidence of these illegal activities.

34. Traffickers of controlled substances commonly maintain addresses,
vehicles, or telephone numbers which reflect names, addresses, vehicles, and/or
telephone numbers of their suppliers, customers, and associates in the trafficking
organization, and it is common to find drug traffickers keeping records of said associates
in cellular telephones and other electronic devices. Traffickers often maintain cellular
telephones for ready access to their clientele and to maintain their ongoing narcotics
business. Traffickers frequently change their cellular telephone numbers to avoid
detection by law enforcement, and it is common for traffickers to use more than one
cellular telephone at any one time.

35. Drug traffickers use cellular telephones as a tool or instrumentality in
committing their criminal activity. They use them to maintain contact with their
suppliers, distributors, and customers. They prefer cellular telephones because, first, they
can be purchased without the location and personal information that land lines require.
Second, they can be easily carried to permit the user maximum flexibility in meeting
associates, avoiding police surveillance, and traveling to obtain or distribute drugs.

Third, they can be passed between members of a drug conspiracy to allow substitution
when one member leaves the area temporarily. Since cellular phone use became
widespread, every drug dealer I have interacted with has used one or more cellular
telephones for his or her drug business. I also know that it is common for drug traffickers
to retain in their possession phones that they previously used, but have discontinued
actively using, for their drug trafficking business. Based on my training and experience,
the data maintained in a cellular telephone used by a drug dealer is evidence of a crime or

crimes. This includes the following:

AFFIDAVIT OF STEVE MEYER UNITED STATES ATTORNEY
USAO 2018R00760 1201 PaciFic AVENUE, SUITE 700

TACOMA, WASHINGTON 98402
(253) 428-3800
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a. The assigned number to the cellular telephone (known as the mobile

directory number or MDN), and the identifying telephone serial number
(Electronic Serial Number (ESN), Mobile Identification Number (MIN),
International Mobile Subscriber Identity MSI) number, or International
Mobile Equipment Identity (MEI) number). These are important evidence
because they reveal the service provider, allow agents to obtain subscriber
information, and uniquely identify the telephone. This information can be
used to obtain toll records, to identify contacts by the particular telephone
with other cellular telephones used by co-conspirators, to identify other
telephones used by the same subscriber or purchased as part of a package,

and to confirm if the telephone was contacted by a cooperating source.

. The stored list of recent received calls and sent calls. This is important

evidence because it identifies telephones recently in contact with the
telephone user. This is valuable information in a drug investigation
because it will identify telephones used by other members of the
organization, such as suppliers, distributors and customers, and it confirms
the date and time of contacts. If the user is under surveillance, it identifies
what number he called during or around the time of a surveilled drug
transaction or meeting. Even if a contact involves a telephone user not part
of the conspiracy, the information is helpful (and thus is evidence) because
it leads to friends and associates of the user who can identify the user, help
locate the user, and provide information about the user. Identifying a
defendant’s law-abiding friends is often just as useful as identifying his
drug-trafficking associates.

Stored text messages. These are important evidence, similar to stored

numbers. Agents can identify both drug associates, and friends of the user

AFFIDAVIT OF STEVE MEYER UNITED STATES ATTORNEY
USAO 2018R00760

1201 PaciFic AVENUE, SUITE 700
TACOMA, WASHINGTON 98402
(253) 428-3800
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36.

who likely have helpful information about the user, his location, and his
activities.

Photographs on a cellular telephone. These are important evidence because
they help identify the user, either through his or her own picture, or through
pictures of friends, family, and associates that can identify the user.
Pictures also identify associates likely to be members of the drug
trafficking organization. Some drug traffickers photograph groups of
associates, sometimes posing with weapons and showing identifiable gang
signs. Also, digital photos often have embedded “geocode” information
within them. Geocode information is typically the longitude and latitude
where the photo was taken. Showing where the photo was taken can have
evidentiary value. This location information is helpful because, for
example, it can show where coconspirators meet, where they travel, and

where assets might be located.

. Stored address records. These are important evidence because they show

the user’s close associates and family members, and they contain names
and nicknames connected to phone numbers that can be used to identify

suspects.

Because drug traffickers in many instances will “front” (i.e., sell on

consignment) controlled substances to their clients, or alternatively, will be “fronted”

these items from their suppliers, such record keeping is necessary to keep track of

amounts paid and owed, and such records will also be maintained close at hand so as to

readily ascertain current balances. These records include “pay and owe” records to show

balances due for drugs sold in the past (pay) and for payments expected (owe) as to the

trafficker’s suppliers and distributors, telephone and address listings of clients and

suppliers, and records of drug proceeds. These records are commonly kept for an

extended period of time. I know that although sometimes these records are kept in paper

AFFIDAVIT OF STEVE MEYER UNITED STATES ATTORNEY

USAO 2018R00760

1201 PACIFIC AVENUE, SUITE 700
TACOMA, WASHINGTON 98402
(253) 428-3800
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form, some drug dealers also maintain these records in electronic form on their cellular
phone and other electronic devices.
CONCLUSION
37. Based on the facts set forth in this Affidavit, I believe there is probable
cause to believe that, contained within the SUBJECT DEVICES described in Attachment
A, there exists evidence, fruits, and instrumentalities, as described in Attachment B, of
violations of 21 U.S.C. §§ 841 and 846 (distribution, and possession with intent to

distribute, of controlled substances, and conspiracy to do the same).

sae ——
Steven Méyer,

Special Agent
Drug Enforcement Administration

3 is ZF
Subscribed and sworn to before me this day of August, 2018.
DAVID W. CHRISTEL
UNITED STATES MAGISTRATE JUDGE

 

AFFIDAVIT OF STEVE MEYER UNITED STATES ATTORNEY
'ACIFIC AVENUE, SUITE
USAO 2018R00760 TACOMA, WASHINGTON 98402

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ATTACHMENT A
SUBJECT DEVICES to be Searched

Since their seizure by the Poulsbo Police Department on August 17, 2018, August

18, 2018, and August 22, 2018, the following cellular phones were maintained in the

secure custody

of the Poulsbo Police Department and Drug Enforcement Administration

(DEA), and are presently located at the DEA’s Tacoma Resident Office:

a)

b)

d)

A black Apple iPhone 10 seized from Jackson SUTER at 200 Moe Street
NE, Poulsbo, Washington on August 17, 2018;

A white and gray Samsung Galaxy 88, seized from Apartment 36 in the
Hillsider 50 Apartment Complex at 19630 Ash Crest Loop NE, Poulsbo,
Washington, on August 18, 2018;

A black Verizon Cosmos 2, seized from Apartment 36 in the Hillsider 50
Apartment Complex at 19630 Ash Crest Loop NE, Poulsbo, Washington,
August 22, 2018;

A black iPhone 8 Plus, seized from Apartment 36 in the Hillsider 50
Apartment Complex at 19630 Ash Crest Loop NE, Poulsbo, Washington,
on August 22, 2018;

A white and gray iPhone 6 Plus, seized from Apartment 36 in the
Hillsider 50 Apartment Complex at 19630 Ash Crest Loop NE, Poulsbo,
Washington, on August 18, 2018; and

A black and gray iPhone 6 Plus, seized from Apartment 36 in the
Hillsider 50 Apartment Complex at 19630 Ash Crest Loop NE, Poulsbo,
Washington, on August 18, 2018.

AFFIDAVIT OF STEVE MEYER UNITED STATES ATTORNEY

USAO 2018R00760

1201 PACIFIC AVENUE, SUITE 700
TACOMA, WASHINGTON 98402
(253) 428-3800
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ATTACHMENT B
Items to be seized

From the SUBJECT DEVICES described in Attachment A of this warrant, the
government is authorized to search for and seize the following items, which are evidence
and/or fruits of the commission of the following crimes: distribution and possession with
intent to distribute controlled substances, in violation of Title 21, United States Code,
Section 841(a)(1), and conspiracy to commit these offenses in violation of Title 21,
United States Code, Section 846:

» Assigned telephone number and identifying serial number (e.g., ESN, MIN,
IMSI, IMED);

a Stored list of recent received, sent, or missed calls;

a Stored address records and stored contact information;

. Stored photographs of narcotics, currency, guns or other weapons,
suspected criminal activity, and/or the user of the phone or co-conspirators;

. Stored text messages that relate to the above-enumerated federal crimes;

2 Stored records, receipts, videos, notes, ledgers, and other documents
relating to the distribution of controlled substances and communications between

members of the conspiracy; and

. Latent prints.
AFFIDAVIT OF STEVE MEYER UNITED STATES ATTORNEY
USAO 2018R00760 1201 PACIFIC AVENUE, SUITE 700

TACOMA, WASHINGTON 98402
(253) 428-3800
